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                                 UNITED STATES DISTRICT COURT

                                              District of New Jersey

  Chambers of
W illiam H. W alls                                                                         Martin Luther King Jr.
  District Judge                                                                           Federal Courthouse
   _________                                                                               50 Walnut Street
                                                                                           Newark, New Jersey 07102
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                                           NOT FOR PUBLICATION
                                              LETTER ORDER


                                                                     February 8, 2010

        Jaime Satizabal
        Reg. # 29112-050
        N.E.O.C.C.
        Nn40 Hubbard Road
        Youngstown, OH 44505

        Re:     U.S. v. Chu; 06-007-05 (WHW)
                Motion for Reduction of Sentence

        Dear Mr. Satizabal:

                This Court has reviewed your November 9, 2009 Motion for Reduction of Sentence based

        on the time you spent in a Colombian prison pending your extradition to the United States. As

        detailed in the attached letter from the United States Attorney’s Office, the time you served in

        Colombia has already been credited towards your forty-six month sentence. Accordingly, your

        motion is denied.

                It is on this 9th day of February, 2010:

                ORDERED that Jaime Satizabal’s Motion for a Reduction of Sentence is DENIED.



                                                                     s/William H. Walls
                                                                     United States Senior District Judge
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 cc:   Margaret Ann Mahoney
       Office of the United States. Attorney
       970 Broad Street
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       Newark, NJ 07102




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